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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Proposed Attorneys for the Debtors

In re:                                                     Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                       Judge:

                 Debtors.                                  Chapter: 11




                Recommended Local Form:               Followed            Modified


   CERTIFICATION IN SUPPORT OF APPLICATION FOR RETENTION OF EPIQ
                     BANKRUPTCY SOLUTIONS, LLC

         I, Daniel C. McElhinney, being of full age, certify as follows:

         1.      I am Senior Vice President, Director of Operations of Epiq Bankruptcy Solutions,

LLC (Epiq”), located at 757 Third Avenue, New York New York 10017. Shapes/Arch Holdings

L.L.C. (“Shapes/Arch”), Shapes L.L.C. (“Shapes”), Delair L.L.C. (“Delair”), Accu-Weld L.L.C.

(“Accu-Weld”) and Ultra L.L.C. (“Ultra”, and with Shapes/Arch, Shapes, Delair and Accu-

Weld, collectively, the “Debtors”) seek to retain Epiq as official noticing, claims and/or

solicitation/balloting agent in these cases.


         2.      Epiq has served as claims, noticing and solicitation/balloting agent in numerous

chapter 11 cases over the past 17 years, including the Enron and Worldcom chapter 11 cases.

Also, Epiq has been retained in the following cases conducted in the United States Bankruptcy


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Court for the District of New Jersey: (a) GI Holdings Inc., et al., (f/k/a GAF Corporation), No.

01-30135 (RG) (Bankr. D.N.J.); and (b) Le Gourmet Chef, Inc., et al., No. 06-17364 (DHS)

(Bankr. D.N.J.). My personal professional credentials include: I am an attorney admitted in

New York, and prior to joining Epiq I was an associate with Willkie Farr & Gallagher LLP from

1999 to 2006. Prior to that, I served as law clerk to the Honorable Arthur J. Gonzalez in the

United States Bankruptcy Court for the Southern District of New York from 1997 to 1999.


        3.       The proposed arrangement for compensation is as follows: Epiq has requested

and received a retainer of $25,000. The Debtors request that the fees and expenses of Epiq

incurred in the performance of the above services be treated as an administrative expense of the

Debtors’ estates and should be paid by the Debtors in the ordinary course of business, without

need for application to this Court. The Debtors believe that the fees to be charged by Epiq for its

services in connection with the noticing, soliciting, balloting and claims processing efforts are

competitive and comparable to the rates charged by its competitors.

        4.

        5.       To the best of my knowledge, after reasonable and diligent investigation, Epiq’s

connection with the Debtors, creditors, any other party in interest, their respective attorneys and

accountants, the United States Trustee, or any person employed in the office of the United States

Trustee, is as follows:

         None

         Describe Connection:

        6.       To the best of my knowledge, after reasonable and diligent investigation, the

connection of my firm, and employees with the Debtors, creditors, any other party in interest,




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their respective attorneys and accountants, the United States trustee, or any person employed in

the office of the United States trustee, is as follows:

         None
         Describe Connection:

        7.       To the best of my knowledge, my firm and its employees and I (check all that

apply):1

         does not hold an adverse interest to the estate.

         does not represent an adverse interest to the estate.

         is a disinterested person under 11 U.S.C. § 101(14).

        does not represent or hold any interest adverse to the debtors or the estates with respect
           to the matter for which he/she will be retained under 11 U.S.C. § 327(e).
                  Other; explain.

        8.       If the professional is an auctioneer,

        A.       A surety bond in accordance with D.N.J. LBR 2014-1(B)(2) is attached.

                          Yes             No

        B.       My qualifications and previous experience as an auctioneer include:
        C.       Have you or any member of your firm ever been convicted of any criminal
                 offense, other than motor vehicle violations?  Yes             No
        9.       If the professional is an auctioneer, appraiser or realtor, the location and

description of the property is as follows:




1
 The Debtors seek to retain Epiq pursuant to 28 U.S.C. § 156(c) and do believe that Epiq is not a
professional under 11 U.S.C. § 327(a). To the extent that the Court considers Epiq a
professional, the Debtors submit that it meets the standards for retention under 11 U.S.C. §
327(a) or (e).

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